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December 15, 2014

Honorable Naorni Reice Buchwald
Daniel Patrick l\/loynihan

United States Courthouse

500 Pearl Street

New Yorl<, NY 10007

Re: 14 CV 9340 (NSB)
lanie Mcl<en.nie v. City of l\/lount Vernon et al.

Dear lodge Buchwald:

The City seeks a pre~niotion conference in the above-referenced matter to be held at a
date and time convenient to the Conrt. Plaintiff’s Cornplaint, containing fifteen (l 5) counts and
seeking fifteen ($15,000,000.00) million dollars must be dismissed as a matter of law as the
Cornplaint does not contain sufficient factual matter to state a claim to relief that is plausible on
its facet Fnrthermore, Plaintifi`s clairns are beyond the statutorily imposed statute of limitations
of42 U.S.C. §2000e. Cetina v. Longworth, 20l4 U.S. App. Lexis l7282, l~2 (2d Cir. 20l4)
(holding that a “Title VlI employment discrimination claim must be filed with the Equal
Eniployrnent Opportunity Corninission. .. or New York State Division of Hnrnan Rights. ..
within 300 days of the alleged unlawful practice.”)

A review of Plaintiff’s Cornplairit filed herein, devoid of its conclusory allegations and
self-serving propositions, establishes that the Cornplaint is insufficient to allow this llonorable
Court to draw any reasonable inference that Defend.anrs are liable to Plaintii`f.

Plal'nti[[ fs Comglaint

Plaintiff, an African Anierican female, alleges that on Febriiary 28, 2009 she Witnessed
Defendant l\/[ichael l\/larcucilli, a Caucasian rnale use excessive force (Pa;ragraph l4). Plaintiff
claims she exercised her First Amendment Rights by giving an official statement to lnternal
Affairs on March 4, 2009. Plaintiff states that from on or about March 9, 2009 through April
20l l (Paragraph lS) and frorn February 6 through lilly 23, 2012 (Paragraph 36) officers and
supervisors became very standoft`ish and refused to speak with her and that she faced inherent
dangers in carrying out her police duties as Caucasian males intentionally slowed down their

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response (Paragraphs 19-20). On lanuary 27, 20l2 and on February 9, 2012, she was advised
that a profane picture with her name on it was inside the male locker room (Paragraphs 25 & 27).
On October 18, 20l2, she vvas advised that another profane drawing existed in the male
bathroom On February 6, 2012, Defendant l\/larcucilli murmured an expletive as he handed her
reports (Paragraph 30) and ordered her to leave the Radio Room on August 23, 20l2 (Paragraph
4l) and tried to intimidate her (Paragraph 42).

Pleading Standards

Based on the Twornbly and M standards, this Court will find that Plaintift` s Complaint
cannot survive a motion to dismiss as it fails to “contain sufficient factual matter to 'state a
claim to relief that is plausible on its face."` Ashcroft v. lgl)al, 556 U.S. 662 (2009) (quoting _B_el_l
Atl. Co§. v. Tvvombly, 550 U.S. 544 (2007). "A claim has facial plausibility when the plaintiff
pleads factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.“ I_d. (Ciring Twomhly, 550 U.S. at 556). "While a complaint
attacked by a Rule l2(b)(6) motion to dismiss does not need detailed factual allegations, a
plaintiffs obligation to provide the grounds of his entitlement to relief requires more than labels
and conclusions, and a formulaic recitation of the elements of a cause of action will not do.‘1
Twombly, 550 U.S. at 555. Thus, unless a plaintiffs well-pleaded allegations have "nudged [its]
claims across the line from conceivable to plausible, [the plaintiffs] complaint must be
dismissed." Twornt)ly at 570; iqhal. l29 S.Ct. at l950-5l.

“(l)ndividuals are not subject to liability under Title Vll,” a successful Title Vll claim
requires a specific basis to impute harassment liability to an employer Patterson v. County of
Oneida, N.Y., 375 F.Sd 206, 221 (2d Cir. 2004) citing Wrighten v. Glowski 232 F.Bd ll9 (2d
Cir. 2000). Plaintiff alleges no facts that constitute negligence or harassment liability on behalf
of the City. The vague and sporadic allegations do not constitute a hostile work environment
under the law. Plaintiff’ s Complaint fails to plausibly allege that her workplace was permeated
with “discrirninatory intimidation, ridicule and insult. .. sufficiently severe or pervasive to alter
the conditions of her employment and create an abusive working environment Harris v. Forl<lift
Sys.2 lnc.2 5l0 U.S. 17, 21 (l993) quoting Meritor Sav. Banl<g FSB v. Vinsonq 477 U.S. 57, 67
(l986). Factors determinative of the hostile work environment, include the frequency of the
discriminatory conduct (there is no reference to frequency), its severity, whether it is physically
threatening or humiliating or a mere offensive utterance and whether it unreasonably interferes
with an employee’s work performance Gorzvnski v. letBlue Airways Corp., 596 F.3d 93 (2d
Cir. 20§0). Plaintifi` s allegations revolve around one officer None of those actions involve any
adverse action taken by the employer Her Cornplaint does not state that she received any
negative comments, reviews or reports regarding her concerning her job performance

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P[aintiffNever Filed a Claim with the EEOC or State Division ofHuman Rights

The complaint is utterly devoid of any mention of filing any Title Vll claims with either
the Equal Employnient Opportunity Commission (“EEOC”) or the New York State Division of
Human Rights (“SDHR”). The requirement_that a Plaintiff must timely file a claim with either
agency within 300 days of the supposedly unlawful employment practice is firmly established in
the Second Circuit. §§§ Baroor v. N.Y. Citv Dep’t of Educ., 362 Fed. Appx. 15 7, l59, 20l0 U.S.
App. LEXlS 1399_, 3 (2d Cir. N.Y. 20l0); see also Ouinn v. Green Tree Credit Corp., 159 F.3d
759, 765 (2d Cir. l998). Plaintiff ppg filed any charges with the aforementioned agencies
Construing the dates in Plaintiff’ s complaint in the most positive light, Plaintiff would have
needed to file a claim with the EEOC or SDHR no later than June 19, 2013 (300 days from
August 23, 20l2, the last alleged incident, Paragraph 41). As of December 15, 2014, no charges
have been filed with either the EEOC or SDHR. Therefore, Plaintiff failed to satisfy a
prerequisite of a Title Vll employment discrimination claim Accordingly, as a matter of law,
all claims relating in part or in whole to allegations under Title Vll must be dismissed since
Plaintiff did not file a claim with either the EEOC or SDHR

Plaintifi’s complaint is full of mere recitations of elements of actions, boilerplate
language, and barebones assertions Additionally, Plaintiff completely fails to allege any facts
relating to the 300 day filing requirement with either the EEOC or SDHR. Accordingly,
Plaintiff’s complaint must be dismissed in its entiretyl

Pursuant to the Court’s lndividual Rules of Practice, please accept this correspondence as
a request for a pre-motion conference to file a FRCP Rule l2(b)(6) motion to dismiss Plaintiff s

claims.

We look forward to the Court’s direction on the matter.

   

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lima Slierwani (HS 8233)

cc: (via facsimile)

l\/lr. Eric Sanders, Esq.

ll40 Avenue of the Americas, 9th Floor
l\lew York, New York l0036

(844) 205-72l4

